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M soclAL sEcURrrY ADMlleTRATIoN j 6
a,, ||l|l|l§ Refer 'rO: office of Disabiliry Adjudication and Review
"”S“" XXX-XX-XXXX suite 300
Elizabeth Dee Stone 1227 25th St NW

washington Dc 2003 7_8199
reh (866)414-6259 / Fax: (202)254-0634

January 5, 2016

Elizabeth Dee Stone
1434 Potomac Ave, SE
Suite 2

Washington, DC 20003

NOTICE OF HEARING-IMPORTANT REMINDER

We recently mailed you a Notice stating the time and place of the hearing you requested We
enclosed with your Notice an Acknowledgement Forrn, which we asked you to complete and
retum. If you have n_ot yet returned the Acknowledgement Form, please call the number listed
above and tell us if you plan to come to your hearing. lf you do not plan to come to your hearing,
please tell us why you cannot come.

We expect you to be present at the hearing scheduled for:

 

Day: Tuesday Date: Janua_ry 19, 2016 Time: 10:00 AM
Eastern (ET)
Room: }_\_ Address: 1227 25th St. NW
Ste. 301

Washington, DC 20037

If you do not appear at this hearing, and do not provide a good reason why you did not appear,
the administrative law judge (ALJ) will dismiss your request for hearing without further notice.
If the ALJ dismisses your request for hearing, the prior decision will become the final decision of
the Commissioner on your application

If you do not understand_this notice, or if some unexpected problem arises, please call this
hearing office at the phone number listed above.

Sincerely,

Soc£al/`.Seoow£ty Ad,wu;m'/.stratéow

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Case 1: 17- -C\/- 01952- CRC- DAR Document 8- 2 Filed 12/28/17 Page 4 of 61 141
,,F Elizabeth Dee Stone (555- 81- -6395) Page 2 of 2

cc: Steven M Oster
1850 M St NW
Suite 280
Washington, DC 20036

ram HA-L503 (04 2013) `
Claimant

 

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Case 1:17-cV-01952-CRC-DAR Document 8-2 Filed 12/28/17 Page 6 of 61

_ _ 1 42
Social Security Administration

Notice Of Proposed Decision

OCO ODO
1500 WOODLAWN DR.IVE
BALTIMORE MD 21241

Dat_e: February 10, 2003 y
ELIZABETH sroNE Claim Number. XXX-XX-XXXX A
UNrr 2

1434 POTOMAC AVE
WASHINGTON DC 20003~3036

We have information about your earnings that could affect your Social Security
disability payments Based on this information, it appears we will decide that
your disability ended because of substantial work December 2005 and that you
are not entitled to payments for: `

March 2006 through March 2007,
May ZIO'? through October 2007,
January 2008 and continuing.

We are writing this letter to give you a chance to give us more information
that you want us to consider. Please review the following information we are
using to make our decision. You have 10 days to give us more information
before we make our decision final. The 10 days start the day after you receive
this letter. We assume that you got this letter 5 days after the date on it
unless you show us that you did not get it within the 5-day period. Ii` you need
more time, let us know right away. '

The Information We Have

We are considering the following reports in evaluating your claim:
0 Your signed statement regarding work and earnings
0 Social `Security Administration Earnings Records
o Work information reported to us by your employer

We are considering the following work in this decision:

Work Start Work End Em lo er
October iam EeCember 2004 E F- MPLOYMENT
March 2005 Not_ Ended GALLAUDET UNIVERSITY
See Nex'.t Page

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There was no evidence to indicate that you did not fully earn the salary you
were paid.

There was no evidence to indicate that you had impairment related work
expenses which might have affected this decision.

What We Plan To Dn

Based on the information we have, it appears we will decide that your
disability ended because of substantial work as of December 2005. Please read

the following information about what will happen to your payments if we
make this decision. `

What Happens _When a Person Goes To Work

Going to work does not affect payments right away.- That's because a person

is allowed a period of 9 trial work months to test his or her ability to work
in spite of health problems

Beginning January 2008, a trial work month is any month in which a person
earns more than: -

0 $670 in gross wages, or;
o $670_ in net self-employment earnings, or;
o works more than 80 hours of work in self-employment

In 2007, the trial work period monthly earnings amount was $640. The amount
was $620 in 2006 , $590 in 2005, $580 in 2004 and $570 in 2003.

Beginning 1992, the 9 months of work must take place in a 60-month period to

end the trial `work period. However, the 9 months do not have to be in a
row.

\

Our records show your trial work period ended November 2005 and that your
nine months of trial work are: '

October 2004
November 2004
December 2004
April 2005

- June 2005

August 2005
September 2005
October 2005
Novernber 2005

What Happens After The Trial Work Period

After the trial work period, several things happen.

 

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Page 3 of 4

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Your disability ends if your lwork activity shows your ability to do substantial
work. However, we pay benefits for the month disability ends and the
following 2 months no matter how much is earned. Based on the information
we have, in your case, this is December 2005 through February 2006.

You get an extended period of eligibility that begins right after the trial work
period. This is a 36 month period when we restart payments for any month(s)
your work is not substantial if your health problems still meet our rules.
Based on the information we have, your extended period of eli 'bility began

December 2005 and will end if substantial work is performed a er 36 months
following this date.

What ls Substantial Work

Generally. substantial work is physical or mental work a person is paid to
do. Work can be substantial even if it is part-time. 'I'o decide if a person's
work is substantial, we consider the nature of the job duties, the skill and
experience needed to do the job, and how much the person actually earns.

A person's work may be different than before his or her health problems

began. It may not be as hard to do and the pay may be less. However, we
may still find that the work is substantial under our rules.

Usually, we find that work is substantial if gross monthly earnings average
more than the following amounts:

o In 2008 . $940
l In 2007 ' $900
o In H)OS $860
0 In 2005 $830
o In 2004 $810
¢ In 2003 - $800

' If a person-is self-employed, we consider the kind and value of his or her
work, includin his or her part in the management of the business, as well as
income, to decide if the work is substantial.

You will be notified later about any overpayment or underpayment due in this
case. You will also be notified about any change in Medicare coverage.

Information About Medicare

'If you have Medicare and your disabling condition continues un_der our rules
your coverage will continue for at least 93 months after your trial work
period. - '

 

Case 1:17-cV-01952-CRC-DAR Document 8-2 Fl|ed 12/28/17 Page 9 01 bl'

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Page 4 of 4

If We Do Not I'Iear From Yon

Il` we do not hear from you within the next 10 days, we will make our
decision based on the information we have now. The 10 days start the day
alter you receive this letter. We assume you got this letter 5 days alter the
date on it unless you show us that you did not get it within the 5-day period.
When we make our decision, we will send you another letter.

If You Have Any Questions

We invite you to visit our website at ww'w.socialsecurity.gov on the Internet to
find general information about `Social Se‘curity. Il` you have any specific
questions, you may call us toll-free at 1-800772-1213. We can answer most
questions over the phone. If you are deaf or heard of hearing, you may call
our 'I'I‘Y number, 1-800-325-0778. You may also write the Social Security
Administration, P.O. Box 17?75, Baltimore, Maryland 21235-7775. USA. Please
be sure to include your claim number if you do write. However. if you visit an

ofl`ice. please take this letter. lt will help the people there answer your
questions

Carolyn L. Simmons 7
Associate Commissioner for Central Operatiops

Case 1,:17-cv-01952-CRC-DAR~ Document 8-2 Filed 12/28/17 Page 10 of 61

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Social Security Administration
Billing Statement
important Inforination

'» Western Pro d am Service Center
P.O. Box 205

_ Richmond, California 94802-179l

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.._..m 000\730 RECMS§ lA 0.790

ELIZABETH D S'I`ONE
UNI'T 2

1434 POTOMAC AVE , _.
WASHINGTON DC 20003-3036

STATEMENT DATE: lO/l'?/l‘Z
ACCOUNT NUMBER'. 5558163_9501
AMOUNT DUE: 319,690.00

NEW BALANC_E $19,690 . 00

PAYMEN'I` OF NEW BALANCE OR AMOUNT DUE
MUST REACH US BY: -

DID YOU FORGET?

1 1/03/ 12

 
  
  
  
 
 
 
  
   

This statement concerns an overpayment of Social Security benefits paid to
ELIZABE'_I`H D STONE, A.

We have not received the payment due. Please send us the -full payment right
"away.
1

k'" o?request to repay a smaller amount monthly over a longer period of time,
" §lease call us at the telephone number below.

If §ou have mailed the payment amount due within the past week, please
disij_e'gard this statement EXH!B.¥T`___ ,2 0
lf §ou Have Any Questions Page l 04 l

' 7 t'OnS, ou may Call us at 1-800-227-8835 TOLL FREE. The
s';f|`]§;? }F;:Yres ;r;§ §/ll§:idlay thzough Friday, 8:00 AM to~4_:30 PM PT. Please have
-_¢' -' l n .. _._.L ,...,.~Llnl-\lq Wl"\f-‘.'n VOU Call. '

 

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To! __F`age2of14 2016-0-2 01 17 43 25 (GMT?: 12027475862 From: Steve Oster !
"' Case 1:17-c\/- 01952- CRC- DAR Document 8 2 i|ed 12/28/17 P_age 11 of 61

   

 

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STEVEN : ,. QS sir
AT'I`ORNEY°AT-LAW
`Fel:»ruai.'_gz l, 2016
Mar§,»' Garcia
Sociai Security Administrati on
Officc of Disal)ility Adjuclicau`on
and Rc‘.vi€w
1227 25'h St. NW, Suite 300
W'asliingron, DC 20037
Re: Elizabcth Stone (XXX-XX-XXXX)
Dear Ms. Garcia:
Enclosecl please find a post-hearing brief and waiver application for submission
to judge Ray. `Please call me if you have any questions
Tliarik you for your assistance
S.incctely','
Stcvcn M. Os'rer
:,H

 

THE OS*FER LAw FIRM
1 850 M STREET N.W`.-Sulrlz 289
WAsmNGToN, DC 20036
202.596.5291(PHoNE)~QOZ..?s?.SS€»Q (Fax}‘
srsvs@osrsamwrinn-com

EXHIB}T --L-~
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Case 1:17-cV-01952-CRC-DAR Document 8-2 Filed 12/28/17` Page 12 of 61

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' Case 1:17-c-v 01952- CRC- DAR Document 8- 2 Filed 12/28/17 Page 13 of 61

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BEFORE THE SOCIAL S`ECURI'I'Y ADMINISTRATION
OFFICE OF DISABILITY AD]UDICATION AND REVIEW

ln te:
No. XXX-XX-XXXX

Elizabeth Stone Hon. Thomas Mercer Ray, A.L.]'.

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Cl.AIMAi T’S POS '-H s l G B l *`F

Clainiam lilizabclli Stone (“Claimant:'"), by and through undersigned eounsel_. respecti-
fully submits this post-hearing brief with 'r.be permission of this Court. Because Claimant (a)
was without fault in connection with the Aclministrauon’s overpayment of bcncfits, and (l)) ,
recovery of the overpapuenr would be against equity and good eonscience, she satisfies Con»
gresses’ and the .Administrm;ion"s requirements lfor a waiver of collcc'c`u'_in.1

FACTUAL BACKGROUND

B}-' way of background the Adminis'rration contends Claiman"r. received 319,690 in dis-
ability7 benefits to which she was not entitled between Marc`li 2006 and Pebruary 2008. The
Admjnisl'ration contends during that time Claimant was engaged in substantial work during

that time frame, earning .i.n excess of applicable ceilings C.lairnanr does non dispute the earnings

attributed to her during the relevant time period

Ho\vever__ C|aimam testified she met with die Adniinistradon three times between 2005
and 2007 in order ro detenni'ne whether she was entitled co condoned benefits while she was

working ar_ Gallaudet Univcrsi.o,-'. I.n both meerings Claimanc disclosed her employment and

 

1 AL the Coun;’s rcquest, Claimam is also submitting a completed application for waiver (ar-'
tacbed hercr.o).

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' Case 1:17-cV-01952-CRC-DAR Document 8-2 l|ed 12/28/1-7 Page 15 of 61
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the amount she was earning She was completely candid Subscqucntly‘, the Administration
confirmed her eligibility and increased her benefits Claimant introduced two letters from the
Administiation, dated April 7, 2006 and November 2,1 2007, received after her iii-person meet-
ings in which the Administration stat.es:'

\\’7e checked our records to see if any changes to your benefits are
necessary

' 0\'7€ ate increasing your benefit to give §=ou credit for your earn-
ings which were not included when we figured your benefit
before.

{Hearing Exs. 1 and 2`}.

The Administration continued to pay benefits to Cla.imant until Febmaiy 2008, when
Claimant directed that benefits cease. Soon after, she received a bill for over $24,000.'~’

MGU ME I\i l

Congress has erected a statutory barrier to recovery of disability payments from “an}=
person who is without fault if such adjustment or recovery would defeat the purpose of this
subchapter or would be against equity7 and good conscience.” 42 U.S.C.A. § 404 (West). The
Administration’s criteria for waiver of recovery are set forth at 20 C.F.R. §§ 404.506(a) -
40445'12. A person is “without faulr." for an overpayment where she accepted payment in reli-
ance on erroneous information from the Adminjstration regarding the interpretation of the

Soeial Securit§= Act. or the Adminisrration’s regulations 20 C.F.R. § 404.5‘10a (applicable to

 

3 The Administtar.ion took a $5,0?9 federal tax return due Claimant in 2011, leaving a balance
sought of 319_,690.

To: P.egesof 14 2016~02-01 17:43. 25 term 12027475862 Frem steve oster
' Case 1: 17- -c\/- 01952- CRC- DAR Document 8- 2 Filed 12/28/17 Page 16 of 61

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entitlement overpayments). Recovery of an overpayment is also “against equity and good con-
science” if a person relied on erroneous information provided by the Administration. 20
C.F_R. § 404.5`12.

Ms. Stone’s testimony, together with the documentary evidence, establish she relied on
erroneous information provided by the Administration at three separate irl-person meetingsl
Not only did the Administration inform her she was entitled to continued payments, on two
separate occasions the.Administration increased her payments

In light of the Administrat'ion’s written advice to Claimant, it would be unreasonable
for the Court to find she accepted payments she knew or should have known were incorrect
20 C.F.R. § 404.507(<:). C]aimant expressly denied l::now.ing she was no longer entitled to the
payments 'l'here is no evidence Clairnant was not Fotrhcoming during her meetings with the
Administiation. She directed the Administration to stop the payments because she no longer
needed the benefits, not because she believed they were being paid in errot. Under the cir-
cumstances1 the statute and the Administration’s regulations require that recovery of the over-
payment he waived

CONCL[JS]ON

.For all of the foregoing reasons, (_`.laimant respectfully requests the Court find that

recovery of the overpayment be waived as a matter of law.

Februa.ry l, 2016 Respectfully Su_hm_it_t.ed,

 

Steven M. Osrer

OSTER LAW FIRM

1850 M Street, N.W'., Suite 280
\Y"'ashington, DC 20036

 

 

 

 

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202.596.5291 (ph)
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TOI Page?0f14 2016-0201 17:43:25 (GMT) 12027475562 From: Steve Osier
‘ Case 1:17-cV-01952-CRC-DAR Document 8-2 Filed 12/28/17 Page 20 of 61

 

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_f:__.'_:_ Requasf For Waiver _Of Overpayment Reccv€"¥ 97 Cha"ge fn R°pa¥me"taate

   

 

 

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paying 10% ofmytota| income . _ _'°`“" " 11 monwmstead 111

 

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_To: Page 9 of 14 2016-02-01 171 43 25 (GMT)12027475862 Fi'om. Steve Oster

 

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_~for_ answers use the "Rernarks section al the bottom ot_ page 7.

§ 33 A._ Do‘you now have any of the overpaid checks ormo__ney ih ElYB~‘-» A*“DL“‘*

"--~\.

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Case 1:17-0\/- 01952- CRC- DAR Document 8- 2 Filed 12/28/17 Page 22 of 61

 

 

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y _.`~- Simitar documents for yourl spouse or
° Yourtmosf recent Ta_x_' Retum dependent fam|]y members '

 

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E_l_mOUn 10

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Members __01 Household ` " " `“ ` ' ` v " " 1555
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_To: Page 11 of 14 2016 02~01 17: 43: 25 (GM 12027475862 From: Steve Oster
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To: Page 12 of 14

 
   

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2016-02~01 17:43:25 (GMT)

_ 12027475862 From: Steve Oster
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To: Page ‘|4 of 14 2016- 02- 01 17: 43: 25 (GMT)12027475662 From: Steve Oster
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PENALTY CLAUSE CERTIF|CATIQN AND PRWACY )i‘-.\Ciil'. STATEMENT

 

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To: Puge '| of 4 2016-05-06 13103:07 (GMT) _ 12027475862 From: Steve Oster
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_ . 160
STEVEN M sTE;R
ATToRNEY-A'r-LAW
May 6, 2016
via Pac.rz'wi/e (703.605. 7101)
Appeals Council, ODAR
5107 leesburg Pike
Fa_lls Church, VA 22041
Rc: Elizabeth Stonc Nircnbcrg (555.81.6395)

Dear Sir or Mada.m:

l write in connection With the above referenced Request for Review
of llleacing Decision, received by the Council on May 4, 2016 (copy at-
tached). I represent the Claimant, Elizabeth Stone Nircni)crg. l request a
30 day extension to tile additional evidence I also request a meeting with
an Adrnjnisrration representative to discuss settlement

Please call, email, or respond in Writing to the following address
305 Center St. North, Vienrla, VA 22180. Thank you for your assistance

Slncerely,

MC%

Steven M. Oster

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Page 2 of 4 2016-05-06 13503207 (G 12027475862 From: Steve Oster

Case 1:17-cV-01952-CRC-DAR Document 8- Filed 12/28/17 Page 34 of 61 """

 

 

 

 

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Elizabeth Stone Nirenberg 555-81 ~6395

 

 

 

il l request thai_ dye'Appeels Council review the.Adminislrali\_le Law .i_udge‘s action on the above claim because
The ALJ decision i's 'oom;r>ar.y to flaw and contains material errors Qf" -Eoct-.. The decision
should be reversed and~ a l»':aiver'of'~r_apaymenc granted or a remand ordereci.

Please grant mean-extension of time to submit evidence or argument

ADDlT|ONAL EV|DENC_E

'.l.f you have additional-evidence-tlyat relates-lo the period on or before the dats~ofthe hearing decision,.you must‘l'nform the
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Case 1:17-0\/- 01952- CRC- DAR Document 8- 2 Filed 12/28/17 Page 35 of 61 '

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ATTORNEY'-AT-LAW

   

September 29, 2016
via Far.rz`mi[e (703.605. 7101)
Appeals Councjl, ODAR
5107 Leesburg Pike
Falls Church, VA 22041
Re: Elizabcth Stonc Nirenberg (555.81.6395)

Dear Sir Ox' M'adam.;

Pursuant to thc Appcals Council’s Scptcmbcr 6, 2016 lettcr, I am
forwarding a statement about the facts and law in this case.

Pleasc call, cmail, or respond in writing co the following address:
305 Centcr St. North, Vienna, VA 22180. Thank you for your assistance

Since.rely,
Stevcn M. Ostcr

Enc.

 

THE Os-'rE'R LAW F.‘IRM
1850 M STREET N.W.'Sun-E 280
WASHINGTON, DC 20036
202.596.5291(PHoNs}-202-.747.5362 (Fm<l "“

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BEFORE THE SOCIAL' SECURITY ADMINISTRATION
OFFICE OF DISABILI'['Y AD]'UDICATION AND REVIEW
APPEALS COUNCIL

In re: .
No. XXX-XX-XXXX
Elizabeth Stone
/
MMEMLM

Claimant Elizabeth Stone (“Claimant”), by and dirough undersigned counsel, respect-
fully submits this supplemental statement with the permission of the Appeals Council (see
attached letter). Because Claimant (a) was without fault in connection with the Administta-
don’s overpayment of benefits, and (b) recoveryt of the overpayment would be against equity
and good conscience, she satisfies Congresses’ and the Administration’s requirements For a
waiver of collection.l Alternan`vely, pursuant to a decision of the `United Statcs District Court
for the Dist:n`ct of Columbia, because the Adrninistration deprived Claimant of valuable rights,
collection is unlawful The decision of t.’ne Hearing Officer is contrary to both fact and law
and should be vacated n

FAQ 1 UAL BACKGBOQ§D '
By way of background, the Administtation contends Claitnant received 519,690 in dis-

ability benefits to which she was not entitled between March 2006 and Febzuary 2008. The

Administration contends during that time Clairnant was engaged in substantial work during

 

1 Cla.irnant is concurrently submitting a completed application for waiver to her local Admin-
istration office

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i. 164
that time frame, earning in excess of applicable ceilingsh Claimant does not dispute the earnings
attributed to her during the relevant time period
'However, Claimant testified she met with the Administrau`on three times between 2005
and 2007 in order to determine whether she was entitled to continued benefits while she was
working at G~allaudet University. ln both meetings Claimant disclosed her employment and
the amount she was earning She was completely candid Subsequently, the Adminisutation
confirmed her eligibility and increased her benefits Clairnant introduced two letters from the
Administration, dated flpiil ?, 2006 and November 2, 2007, received after her in-person meet-
ings in which the Administration states: . k

We checked our records to see if any changes to your benefits are
necessary

We are increasing your benefit to give you credit for your cam-
ings which were not included when we figured your benefit
before. `

(Heaiing Exs. l and 2). The Administration continued to pay benefits to Claimant until lieb-
ruary 2008, when Claimant directed that benefits cease Incredibly, thereafter she received a n
bill for over 524,0(]0.2 'l`here is no doubt that Claimant in good_faith relied on the oral and ,

written advice she received from the Administration and should be granted a waiver.

 

3 The Administration took a 55,079 federal tax return due Claimant. in 2011, leaving a balance
sought of §19,690.
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' Case 1:17-cV-01952-CRC-DAR Document 8-2 Fl|ed 12/28/17 Page 38 of 61

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l a_R‘ GUMJ;:ET

A. Recovery_of Payments to Claimant is Contrary to the Purpose of the So-
cial Security Act, Equity, and Good Conscienee.

Congress has erected a statutory barrier to recovery of disability payments from “any
person who is without fault if such adjustment or recovery would defeat the purpose of this
subchapter or would be against equity and good conscience.” 42 U.S.C.A. § 404 (West). 'l`he
Administration’s criteria for waiver of recovery are set forth at 20 C.F.R. _§§ 404.506(a) -
404.512. A person is “without fault” for an overpayment where she accepted payment in reli-
ance on erroneous information from the Admioistration regarding the interpretation of the
Social Secutity Act or the Administ:ration’s regulations 20 C.P`.R. § 404.5‘10;1 (applicable to
entitlement overpayments). Recovery of an overpayment is also “against equity and good con-
science” if a person relied on erroneous infonnation provided by the Administration. 20
C.F.R. § 404.512.

Ms. Stone’s testimony, together with the documentary evidence, establish she relied on
erroneoth information provided by the Administration at. three separate iii-person meetings
Not only did the Administration inform her she was entitled to continued payments, on two

separate occasions the Administration increased her payin:entps,." 4 _- z

]n light of the Administration’s written advice to Claimant, it was clearly erroneous for
the l~.{earing Off:icer to find she accepted payments she knew `or should have known were
incorrect 20 C.F'.R. § 404.507(€). Claimant expressly denied knowing she was no longer enti-
tled to the payments 'l"he undisputed evidence established Claimant was completely forth-

coming during her meetings with the Adniinist_ration. She directed the Administration to stop

the payments because she no longer needed the benths, not because she believed they were

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being paid in error. Under the circumstances, the statute and the Administration’s regulations
require that recovery of the overpayment be waived.

B. Beeause the Administration Deptived Claimant of her Right to Make In-
formed Deeisions about her Benefits and Finaneial Well-Being, the De-
cision Below should be Vacated.

Altetnatively, the decision below should be vacated because the Administration de-

prived Claimant of her right to make informed decisions about her work and financial well-
being Claimant’s position is similar to the plaintist in §§ggg g v, Sgg‘y of ,l_~lgalrh, E; d. §§ ng-
fagg 218 F. Supp. 761, 764 (D.D.C 1963). There, the plaintiff engaged in part time work which
the Agency subsequently determined exceeded the number of days allowable in order for her
to retain valuable social security benefits As is the case here, the plaintiff made full disclosure
of her part-time employment and received benefits without fault for nearly three years before
the Agency determined she was ineligible I-l`ad the plaintiff been aware of the Agency’s ret-
roactive'position, she might have chosen to relinquish the benefits but work additional hours,
or not to work at all. ln pertinent parr, the court stated:

Undcr the language of this regulation, plaintiff ‘relinquished a valuable nght’_
namely, the right to decide intelligently how much she wanted to work. Plaintiff
stated on a questionnaire dated june 26, 1960: ‘l limited my earnings so that- I - -
would not earn over $1200 in any year.’ Had plaintiff known that the 'i»day rule
was to be applied in a manner which would deprive her of all Social Security
benefits, she might well have chosen to work much more than she did. On the
other hand, she might have chosen not to work at all, and to receive, instead,
the insurance benefits By working, she earned only__$lZ».lf) per_montli more
than she received in such insurance benefits On the same questionnaire of june '
26, 1960, plaintiff said that her brother was on a pension-and was ill with a heart -
condition and arthritis She might well have decided to stay home with him.
Plaintiff thus lost a valuable right`_the right to choose intelligently
among various alternatives-through no fault of her own. '

218 F.Supp at 764 (citation omitted; emphasis added).

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The r\dministration deprived Claimant of the same valuable right_to make informed
and intelligent choices about her financial situation and employment l-ler situation is compli-
cated by the Administration’s unilateral decision to increase her benefits after she had re-
quested revie\v. Bv the time of the Administration reversed its position, Claimant’s purported

debt was enormous Equity dictates she be granted a waiver

§QN_C.LI.ISIQ.N
For all of the foregoing reasons, Cla.irnant respectfully requests the Council vacate the
decision below and find that recovery of the overpayment be waived as a matter of law.

Septernber 29, 2016 Respectfully s_ubrrtitted,

Steven M. Ostet

OSTER LAW FIRM

1850 M Street., N.W., Suite 280
Washington, DC 20036
202.596.5291 (ph)
202.747.5862 (f)

.703.577.8785

       

    

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SOCIAL SECURITY ADMINISTRATION 't

OFFICE OF DISABILITY ADJUDICATION AND REVIEW

ln the case of'.

Elizabeth Stone

 

Cloimant

 

Wage Eamer '
(Lcave blank in SSl Claims, or ifthe name
is the same as abo\'e.)

Hearing He|d at:

Washington, DC

 

(Cily, Slale)

January 19, 2016

 

(Month, Day, Year)
by:

Thomas Ray

 

(Administrativc Law Judgc)

APPEARANCES:

Elizabeth Stone, Claimant

TRANSCRIPT
Claim for:

Period of Disability
Disability Insurance Benefits

 

XXX-XX-XXXX

 

Social Security Number

Steven Oster, Attorney for Claimant
Tatiana Hernandez, Sign Language,Interpreter

Diaz Data Services, LL.C

33\ Scl'luylkill Street, Hatrisburg, PA l?l lO - 717-233-6664

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INDEX OF TRANSCRlPT ' 1369
]n the Case of: Account l\lumber
Elizabeth Stone XXX-XX-XXXX

Page Commencing

Testimony of Elizabeth Stone 7

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3 l
(The following is a transcript of the hearing held before 170
Thomas Ray, Administrative Law Judge, Office of Disability <F
Rdjudication and Review, Social Security Administration, on f
January 19, 2016, at Washington, DC, in the case of
Elizabeth Stone, Social Security number XXX-XX-XXXX. The claimant

appeared in person and was represented by her attorney,

Steven Oster. Also present was Tatiana Hernandez, Sign Languaqe
Interpreter.)

(The hearing commenced at 10:51 a.m., on January 19, 2016.)

OPENING STATEMENT BY ADMINISTRATIVE LAW JUDGE:

ALJ: Good morning. l’m Administrative Law Judge Thomas Ray.
This hearing concerns an appeal from an overpayment matter
involving Ms. Elizabeth Stone. Let the record reflect that
MS. Stone and her representative are present. We also have a Siqn
language interpreter. l need to ask the interpreter a few things
to make sure there's no objections to her, and that she's otherwise
qualified. State your full name, please.

INT: Tatiana Hernandez.

ALJ: Okay. Now are you over 18 years of age?

INT: I am over 18, yes.

ALJ: Okay. And have you ever been a sign language
interpreter before?

INT: I've worked as an interpreter for a while, yes.

ALJ: Okay. Have you ever done it for Social Security?

INT: I’ve worked for Social Security also.

ALJ: Okay. Have you had any prior personal or professional
contact with the Claimant?

INT: l have not, Your Honor.

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ALJ: Okay. Have you had any discussions with me, or thew
representative, or the Claimant concerning the merits of this case?

INT: I have not, Your Honor.

ALJ: Okay. Do you understand that you are not a reprehensive
of the Claimant?

INT: l am not. I understand. Yes.

ALJ: Do you understand that your job as an interpreter is to
accurately interpret the questions asked, and the answers given to
the best of your ablity?

INT: I do, Your Honor.

ALJ: Do you understand that if the Claimant asks you a
question, you are not to answer the question directly, but merely
interpret her question to me, so that I may answer it?

INT: I do, Your Honor.

ALJ: Okay. Counsel, do you have any objections to her
serving as the interpreter for this matter?

ATTY: None at all, Your Honor.

ALJ: Okay. You don't have to stand. Okay?

ATTY: Habit.

ALJ: It's -- I understand. Okay. I find you to be more than
sufficiently qualified to be the interpreter for this matter.

Okay. Now before the hearing began, the hearing reporter brought
me in some documents. And they're marked as Plaintiff's exhibit --
and obviously, we don't have Plaintiffs here, or Defendants, for

that matter. These will be renumbered in the way that we do

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5

things, and then made part of the record. Okay? -Jf?z *
ATTY: Yes, Your Honor. `%
ALJ: Now, counsel, did you have any other exhibits you want
to offer at this time?
ATTY: No, Your Honor.
ALJ: Okay. Do you believe the record's complete?
ATTY: l do, Your Honor.
ALJ: Do you have any objection to any of the exhibits
contained in the record?
ATTY: I do not, Your Honor.
ALJ: The exhibits are admitted.

(Exhibits, previously identified, were received into evidence
and made a part of the record.)

ALJ: Do you have a brief opening statement for me?

ATTY: I do, Your Honor.

ALJ: Go ahead.

ATTY: My name is Steven Oster. I represent Ms. Stone, who
received benefits from the agency, between 2003 and 2007. Ms.
Stone was entitled to benefits because she was doing deaf. The
agency claimed she had -- was overpaid by just under $20,000.
However, the overpayment was through no fault of her own. Indeed,
it was despite her good faith efforts, over two years, to confirm
her entitlement with the agency's representatives. Three times she
met with representatives of the agency. In each of those meetings,

she was 100% truthful. Twice, the agency responded in writing, not

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only that she remained entitled to their benefits, but, in fact,
they should be increased. Even after Ms. Stone frankly told the
agency she no longer needed the benefits, the agency increased her
payment. She was without fault in collection of the overpayment,
and would both defeat the purposes of the Act, and the against
equity in good conscience. We would like to introduce Ms. Stone’s
direct testimony, the exhibits, which Your Honor referred to a
moment ago, and l would further request the opportunity, after the
hearing, to file a five-page post-hearing Brief.

ALJ: Well, I'll file you time to file a Brief, if you feel
the need to do it after this hearing. So I don't know that I've
seen you before, counsel. Is this the first time you’ve been in
here with me?

ATTY: It's the first time I've been in with Your Honor, yes.

ALJ: Okay. I'm pretty liberal letting people file what they
want to. Our rules are pretty liberal, so, you know, I'm not doing
anything way out in left field. But very rarely do people feel the
need to file any kind of post-hearing Brief. But that said, you do
what you think is comfortable, and what you think is best for your
client. Okay. I thank you very much for the opening. Ms. Stone,
I'd like to ask you a few questions, And I'll give your lawyer a
chance to ask you some questions as well. Let me just ask the
interpreter a question. Are we speaking okay for you, too fast,
too slow, or just right?

INT: It's just right. Thank you, Your Honor.

!"-.

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ALJ: Okay. Let me know if we're going too fast. -i]f?4
INT: l will. Thank you.
(TATIANA HERNANDEZ was duly sworn to act as interpreter.)

(The claimant, ELIZABETH STONE, having been first duly sworn,
testified as follows:)

EXAMINATION OF CLAIMANT BY ADMINISTRATIVE LAW dUDGE:

Q Okay. Now, Ms. Stone, let me just ask a little bit about
your hearing loss. Can you not hear me at all?

A That is correct, Your Honor.

Q Okay. Do you -_ can you read lips?

A Well, I mean it’s pretty much 80% guesswork.

Q Okay. Okay. You're working right now.

A Yes, Your Honor. I am working.

Q What is it that you do?

A I'm a conflict resolution resource person.

Q Who do you work for?

A And -- well, I work for Gallaudet University.

Q Okay. And how long have you worked there?

A l guess altogether, about ten years.

Q Okay. Now you were receiving benefits from Social
Security. You were not working at the time that you initially
received benefits. Is that fair?

A That is correct, Your Honor.

Q And then at some point, you got the job that you currently

have.

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. ~' 75
A Well, yes. I did later, Your Honor. ‘"1
Q Okay. But what I mean is was there another job between not
working and getting benefits, and then the current job you have
now?
A Well, I did an internship,r Your Honor. But that was
part-time.

Q Okay. Was it a stipend, or paid, or unpaid?

A Well, the amount that I was getting paid through the

internship was below what the benefits -- because l was paid
hourly.
Q Okay.

A But it was less than 20 hours a week.

Q Okay. Now when you got the job, full-time, how much were
they paying you initially? Do you remember?

A Well, l started full-time, and so my salary _~ it'was in
the fall of 2005, and that’s when l started the full-time job. I
think my salary was -- l was salaried ‘- for full-time, it was

right under 50,000.

»\

Q 'Okay. Now when you »- at some point, did you go to Social
Security and say, hey, I'm working. I don't think l should get
benefits, or did you wait until they contacted you? What initially
happened?-

A No. I went in person immediately, Your Honor.

Q And did you supply any evidence of how much money you were

making?

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_ l'?S-

A Yeah. I brought a paystub, and l explained to the person
who was there that I was getting a salary. I was working
full-time, Your Honor.

Q And so you think that was in the 2005, timeframe?

A Well, yes. I went in 2005, and again in 2006, in the fall.
So --

Q You went back the second time because'you were still
`receiving the money, and you knew that wasn't right.

A That is correct.

Q Okay. Did you spend the money that you received during
that period of time, from Social Security, or did you put it aside
in an account?

A Well, l kept getting the money, and the money kept coming.
I mean, I did save some, and then I also spent some. l mean, I --
you know, because it was a direct deposit.

ALJ: But you seem to have known that maybe you shouldn’t have
been receiving this money.

ATTY: Am I allowed to object?

ALJ: Well, you can tell me what your issue is.

ATTY: I'll cross-examine when Your Honor's done.

ALJ: Okay.

CLMT: Okay. So can you repeat the question again, Your
Honor?

BY ADMINISTRATIVE LAW JUDGE:

Q Well, the question is, why were you spending the money if

`J~
Case 1:17-cV-01952-CRC-DAR Document 8-2 Filed 12/28/17 Page 50 of 61
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you're going and telling them, hey, I'm getting this money, but l'm
working? You seem to have known that maybe you -- it wasn't your
money. ls that not correct?

A Well, I was getting letters saying, you know, that I did
quality for the benefits. So it was a little confusing for me,
Your Honor. Yeah. So l was very confused. That was an
interpreter error, when she said a little confused. I was very
confused.

Q Okay. After 2006, did you go any other times?

A l did, Your Honor.

Q What happened when you went on those visits?

A Well, I went, and explained everything again. I was very
clear. I told them they needed to stop sending me benefits. And
that was it.

Q Okay. Now this is all before you got a notice saying you
had an overpayment. Is that right?

A Yes. All this happened before the overpayment letter.

That is correct. You know, because that happened a while laterr
It was much later.

ALJ: And, counsel, we were talking about things that can be
done after the hearing. What l will usually, in a case like this,
do, is give people an opportunity to update their waiver request,
because, you know, time can go by, and people's financial situation
can change. If you all would like to do that, I'll certainly give

you time to do that.

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ATTY: l would, Your Honor. Thank you. 3)?8

ALJ: And ~~ but l want it to be on the same form, you know, a
blank one.` And we can give you one of those forms. And l want it
to be signed, not just filled out, and not signed. l get those
sometimes. Okay. Sign and date it, so it’s clear it’s something
the Claimant agrees toj and it’s current.

ATTY: Of`coursey.Your Honor.

ALJ: You know, her financial situation easily could have
changed since she’s done is

BY ADMINISTRATIVE LAW JUDGE:

Q Okay. So when you went through the process, sometimes
people will agree to pay back 3100 a month, or something like that.
Have you agreed to make any payments at all at this point?

A- I’ve not, Your Honor. k

Q You have not.

A No, Your Honor. I have not.

Q l just didn’t hear her.

A No, Your Honor. l have not.

Q Have you ever had an overpayment before? ls this the first
time you’ve gone through this? l

A No. This is the first time, Your Honor.

ALJ: Counsel, l’m going to let you ask questions. But let's
try to focus her to focus you -~ let’s assume that l agree with

you, that she's not at fault. Okay? So then the real issue, to

me, becomes waiver or, you know, you mentioned it’s against good

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it, and they said that they would stop the benefits. And that's
what I was told. You know, and at the time I was without an
interpreter. So we were just writing back and forth.

Q Did you -- okay, well you met three times. Were you
without an interpreter all three times?

A That is correct, yes.

Q Did you ask for an interpreter prior to those three
meetings?

A Yes. l did.

Q Did they agency say that they would provide an interpreter
at those meetings? l

A They did say they would provide an interpreter.

Q At any time -- well, you've testified that you didn't need
the -- you didn’t want the money, because you wanted to continue
working full-time.

A Yes. Um-hum.

Q Did you express that in writing when you were passing notes
to the SSA representatives?

A Yes. I let them know that l was concerned, that I was
getting the benefits, and I wanted to let me know that I wanted to
keep my full-time job, you know; and l was telling them the amount
of money that I was getting, and that the benefits should stop.

Q Did you know that you were making more money in your
full-time job than you were permitted in order to continue

receiving your benefits?

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A No. I did not. '._181

Q Did you rely on what the SSA representatives told you --

A I did, yes.

Q Let me finish my question. Did you rely on what the SSA
representatives told you in each of the three in-person meetings?

A I did, yes.

Q Did you --

A And then I relied on the letters that I received also.

Q That was my next question. At some point, did you believe
that what the agency was telling you verbally, and in writing, was
incorrect?

A I accepted what the agency told me.

Q In 2008, you received another letter. We've marked this as
Plaintiff's 3. We understand it’s going to be renumbered. For the
record, it’s a February lOm, 2008, letter, Notice of Proposed
Decision from the Agency. Do you receive that letter?_

A I did get that letter, yes.

Q And prior to your receipt of the February 2008, letter, had
the benefits stopped?

A No. They continued until then.

ATTY: I'm now going to hand the witness Plaintiff's 4.

Again, just for the record, it is a November 3M, 2012, billing
statement from the Social Security Administration.

ALJ: Okay. Now wait a second. You said #4?

ATTY: Yes, Your Honor.

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ALJ: I don't see the date. 182

ATTY: It's in the middle. Oh, I'm sorry. The statement date
is 10/1?/12.

ALJ: Okay.

ATTY: My mistake._ That was the payment due date.

ALJ: I've got it.

BY ATTORNEY:

Q All right. Do you recall, was this the first time -- prior
to your receipt of Exhibit 4, had the agency made any specific
demand for repayment on you?

A I'm sorry. Can you repeat the question?

Q Sure. Was that the first time the agency made a demand in
which they asked for a specific amount of money from you?

A It is, yes.

Q Now have you ever received an itemized statement from thel
agency, indicating how they --

A I have not.

Q Okay. It's really important, both for the record and also
for the interpreter, let me finish the question, and then answer.~
Okay. Has the agency ever provided you with an itemized statement
indicating how they calculated the amount that you owed?

-A They had not.

Q Has the agency ever -- other than what we've marked as

Exhibit #3, the 2008, Notice of Proposed Decision -- has the agency

ever provided you with a written explanation of why you were not

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entitled to the benefits that you received? - -'183

A NO.

Q Do you now understand why the agency is taking the position
that you were overpaid?

A No. I don't.

Q Have we discussed -- are you aware that there were ceilings
during the time that you were working full-time, above which if you
earned money -- strike that. Are you aware that pursuant to the
agency’s regulations, if you earned in excess of a certain amount
of money per month, you were potentially not eligible for benefits?

A YeS.

Q Okay.

A l was aware.

Q And when did you learn that information?

A At the time that I applied for benefits.

»ATTY: Okay. l don't have anything else, Your Honor.

ALJ: This document that's marked Plaintiff’s Exhibit 5, can
you show that to her?

ATTY: Sure.

ALJ: This is the -- it’s a Social Security Important
Information Notice sent to the Claimant. It’s got a date of April
27, 2011. lt says on there that they received a $5,079 of a
federal payment that you weren't due. _Do you know what that was?
Was it like an income tax refund, or something?

CLMT: Yeah. It was a tax return, Your Honor.

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ALJ: Okay. Have they taken any other moneys from you that
you’re aware of? 184

CLMT: They have not.

ALJ: Okay.

ATTY: Can l clarify that, Your honor.

ALJ: Sure.

BY ATTORNEY:

Q Was there another occasion when the agency levied on your
tax return?

A Well, that actually happened three times.

Q Do you recall, in -- when you and l first met with the
agency at the post office, office of the agency, the representative
agreed that pending an administrative hearing, there would be no
collection activity? And subsequent to --

A Yes.

Q And subsequent to that time, you testified that the agency
levied three times on your tax return. Correct?

A Yes. Correct.

Q Other than the payment of just over $5,000, that Judge Ray
referred to you, did the agency give you back that money?

A No. Not the first time.

Q Has the agency returned the $5,000 that is reflected in
Exhibit 5?

A No.

Q Do you recall, was the other levy, that was not returned to

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you, did that occur before or after the $5,000 levy in 2011?

A It happened after. - 185

ATTY: okay.

ALJ: I didn’t hear the answer.

CLMT: It happened after.

BY ATTORNEY:

Q Do you recall the amount of that levy?

A Can you repeat the question?

Q Sure. The levy that occurred after 2011, was that money
returned to you?

A You mean the first time?

Q No.

A The second time then.

Q Yes.

A No. So the first time they took it, but the second time --
the first time they did not. The second time they did.

Q Okay. But you said there were three letters. ls that
correct?

A That is correct, yes.

Q Okay. So the -- was the third levy returned to you?

A Yes. They returned the money the second time and the third
time. But they kept the first one.

Q Okay. And when you're referring to the first one, you're
referring to the $5,000 payment reflected in Exhibit 5.

A Yes.

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Q So you -- other than the fact that you had never received
an itemized statement, you have no basis to believe that the
$19,690 balance, which is reflected in Exhibit 5, does not reflect
deductions for levied payments.

A Yes.

Q Okay.

A Correct.

ALJ: Anything else?

ATTY: No. I just wanted to clarify the --

ALJ: Okay. l want to make sure I've gpt this.

ATTY: Okay.

ALJ: Okay, based on what I've heard here.

BY ADMINISTRATIVE LAW JUDGE:

Q At some point they took $5,0?9 from you from a -- what
would have been an income tax refund.

A Yes.

Q They took that all at once.

A Yes, Your Honor.

Q Okay. And then after that, at some point, you had a
meeting with Social Security, and they agreed they would not take
any more money from you like that, pending this appeal.

A Yes. That is correct, Your Honor.

Q Okay. But they did do it. They did twice take some money
from you. And at some point they refunded that back to you.

A Yes.

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Q Is that right?

A That's correct, Your Honor.

ALJ: l just wanted to make sure I'm understanding you. Okay.

ATTY: We’ll stipulate to that. That is what happened.

BY ADMINISTRATIVE LAW JUDGE:

Q Yeah. Okay. Well, l just -- again, this is ~~ you know,
it’s just a fact-finding conference. It's a chance for all of us
to make sure we’re on the same sheet of music. Okay. Ms. Stone,
is there anything about this matter that we have not asked you
about that you would like to tell us?

A No. I don't think so, Your Honor.

Q You have -- you're a college graduate. ls that right?

A Yes, Your Honor. `

Q What degree do you have, or degrees?

A Well, I do have a graduate degree also, Your Honor.

Q Okay. What do you have?

A In public administration.

Q An undergraduate degree, a Bachelor of Art or Science?

A A Bachelor's in Social Work.

Q Okay. And then a Master's. Okay. Are you working on a
Ph.D.?

A I’m not, Your Honor.

ALJ: Not yet. Okay. Let me look briefly at the financials
that we have, and see if there's anything I want to ask while I've

got you here. But, again ~- and tell me -- and you can talk to

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your client briefly, if you’d like. How much time do you think you
need to complete a new financial form, the waiver form. I'll give
you a little time.

ATTY: How much time would you need to Complete the waiver
form?

CLMT: Maybe a week?

ATTY: A week. Why don't we say two weeks to be -- because
I'm going to be gone all of next week --

ALJ: Yeah. l think two --

ATTY: -- for a trial.

ALJ: I think a little more time is always better.

ATTY: Yeah.

ALJ: I mean, we're -- you know, we're always in a rush to do
everything. But time gets away from us.

ATTY: Um-hum.

ALJ: Okay. Today's the l9w. But -- wait a second. I'm
looking at the -- yeah, the l9w. Two weeks is the 2d of February.
Is that okay? y

ATTY: Yes, Your Honor.

CLMT: Yes, Your Honor.

ALJ: And if you need more time, let me know. Now is that
enough time for you to do the little Brief that you wanted to?

ATTY: Oh, yesr Your Honor.

ALJ: Okay. Now let me just look here. I don't see any

mention of student loans. Do you have any student loans?

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CLMT: l did get financial aid, Your Honor.

ALJ: Okay. So you don't currently own -- but do you
currently owe any student loan?

CLMT: l don't owe any student loan.

ALJ: Okay. Well, that's good for you. Okay. I don't see
anything else in particular that I feel the need to ask about.
Okay. Anything else, counsel?

ATTY: No, Your Honor.

ALJ: Okay. Okay. Well, I thank you all. You've been very
helpful to me. I appreciate you answering all of my questions.
I'll give you two weeks to turn in a new waiver request form of
your financial situation, and your counsel to prepare any closing
argument, that he would like to make. With that, we’ll leave the
record open for the time specified. We’ll go ahead and close the

hearing, and go off the record, You all are excused.

(The hearing closed at ll:25 a.m., on January 19, 2016.)

C E R T I F I C A T I O N

I have read the foregoing and hereby certify that it is a true
and complete transcription of the testimony recorded at the hearing
in the case of Elizabeth Stone, held before Administrative Law
Judge Thomas Ray.

.D.

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